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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    NORTHERN DIVISION



 UNITED STATES OF AMERICA,

               Plaintiff,                                     Case No. 2:14-cr-09-05

 v.                                                           HON. ROBERT HOLMES BELL

 TINA MARIE VALIQUETTE,

            Defendants.
 _________________________________/


                                      ORDER OF DETENTION


               Defendant appeared before the undersigned on May 8, 2014, for arraignment on an

indictment charging six counts of various controlled substance violations. The government filed a

motion for detention. Defense counsel indicated he was not prepared to argue the motion at that time

and requested a hearing be set at a later date. Accordingly, IT IS HEREBY ORDERED that the

defendant will be detained pending further proceedings.

               IT IS FURTHER ORDERED that while the defendant is in custody, she is prohibited

from making telephone calls to anyone other than her defense attorney and that she shall have no

contact, either direct or indirect, with any of the co-defendants.

               IT IS SO ORDERED.

Date: May 9, 2014                                               /s/ Timothy P. Greeley
                                                               TIMOTHY P. GREELEY
                                                               United States Magistrate Judge
